
86 N.Y.2d 811 (1995)
Walter F. Pike, Individually and as Representative of the Heirs, Distributees and Estate of Florence A. Pike, Deceased, Appellant,
v.
State of New York, Respondent. (Action No. 1.) (And Another Action.)
Thomas C. Van Amburg, Individually and as Representative of The Estate of Denise Van Amburg, Deceased, Appellant,
v.
State of New York, Respondent. (Action No. 3.)
Court of Appeals of the State of New York.
Submitted June 12, 1995.
Decided September 12, 1995.
Motion by appellant Pike, insofar as it seeks leave to appeal from so much of the Appellate Division order as affirmed the denial of his motion for reargument, dismissed upon the ground that that portion of the order sought to be appealed from does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied. Motion by appellant Van Amburg for leave to appeal denied.
